              Case 2:11-cr-00096-DC Document 356 Filed 03/29/16 Page 1 of 1

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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:11-CR-096 JAM

12                                Plaintiff,            ORDER GRANTING GOVERNMENT’S
                                                        UNOPPOSED MOTION TO DISMISS WITHOUT
13                         v.                           PREJUDICE

14   IRMA ANACANI GONZALEZ,

15                                Defendant.

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17          For the reasons set forth in the unopposed motion to dismiss filed by the United States,

18          IT IS HEREBY ORDERED that:

19          The charges against Irma Anacani Gonzalez in the above captioned case are hereby

20 DISMISSED, pursuant to Federal Rule of Criminal Procedure 48(a), without prejudice.

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22 Dated:             3/28/2016                                /s/ John A. Mendez
                                                               JOHN A. MENDEZ
23                                                             U.S. DISTRICT COURT JUDGE

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      ORDER GRANTING GOVERNMENT’S MOTION                1
      TO DISMISS WITHOUT PREJUDICE
